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Managing Attorney
                                           June 11, 2018
   Judge Carla E. Craig
   United States Bankruptcy Court
   Eastern District of New York

          Re:          Sabrina Faistman aka Sabrina Zipporah Ambalo
          Case Number: 18-41259-cec
          Subject:     Status Report of Loss Mitigation between Debtors and Creditor

   Dear Judge Craig:

           Our office represents New Penn Financial LLC d/b/a Shellpoint Mortgage Servicing in
   the current loss mitigation proceeding. Please accept this letter as an update in advance of next
   week’s hearing:

             On May 9, 2018, Debtor submitted their initial loss mitigation package. As of the date
   of this letter, the following is needed to complete Debtor’s loss mitigation package.

          1) Need the two most recent filed tax returns with all schedules. They must be signed
   and dated. If self-employed, income or rental income. Need schedule C and or E.

          Need signed & dated TR for 2016 & 2017 can't have any whiteouts.

           2) Need two most recent bank statements for all checking and savings account and must
   include all pages.

           3) If there are any large deposits of $1000 or more reflecting on bank statements; we will
   need a signed and dated letter of explanation indicating the source of the deposits.

           4) Need proof of income such as most recent consecutive paystubs covering a 30 day
   period. If borrower on a fixed income, need benefit award letter and 2 months proof of receipt. If
   borrower self-employed, need most recent signed and dated profit & loss statement covering 3
   complete full months or year to date.
           ** paystubs received are not legible

         5) If Applicable need proof of current HOA dues such as HOA statement, monthly
   coupon or letter from association.

          6) ***Rental Income: if applicable
          - need current lease agreement
          - need current mortgage statement with PITI amounts
          - need HOA statement if applicable (if no HOA, please provide LOE stating so)
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        Please do not hesitate to contact our office with any questions.

Sincerely,




STERN & EISENBERG, P.C.
